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Exhibit 1
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UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS {

IN RE: NEURONTIN MARKETING,
SALES PRACTICES AND PRODUCTS

LIABILITY LITIGATION

 

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VOLUME V

CONTINUED VIDEOTAPED DEPOSITION OF -
RONALD WILLIAM MARIS, Ph.D.
(Taken by Defendant)
Columbia, South Carolina

Wednesday, October 22, 2008

 

 

 

 

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38 (Pages 1250 to 1253) _

Page 1250 Page 1252 ||
1 took the Neurontin, right? 1 A. 1 believe that's correct.
2 MR. ROSENKRANZ: Objection; asked and 2 Q. Are you aware Mrs. Bulger stopped
3 answered. 3 going to that counselor and group therapy 11
4 A. Ihave been asked that a number of 4 months prior to her death, because she found
5 times, and I said the only evidence is that she 5 Dr. Goldman, who would prescribe methadone to
6 asked for it immediately -- 6 her without requiring her to receive any
7 Q. Okay. 7 therapy?
8 A. -- before her suicide. 8 A. I believe that she did certainly find
9 Q. Did you -- are there any other 9 Goldman.
10 additional risk factors, other than the suicide 10 I don't know if he made that
11 attempts that you -- strike that -- 11 stipulation; T'll take your word for it.
12 Let me start over: 12 Q. Are you aware -- did you consider the
13 I want to talk, Doctor, about this 13 fact that Susan Bulger received no counseling or
14 methodology by which you reached an opinion that} 14 therapy for the 11 months prior to her suicide?
15 Neurontin played some role in Susan Bulger's is A. Right. I'm aware of that.
16 suicide. 16 Q. In your expert opinion, would Susan
17 And, specifically, I want to know 17 Bulger have benefited from psychiatric treatment
18 what risk factors you considered, and how you 18 in 2004?
19 ruled out various risk factors. 19 A. She could have; although, she had had
20 Do you know whether lack of mental 20 treatment many times before.
21 health treatment is a risk factor for suicide? 21 I think you pointed out to me, she
22 A. It certainly can be, yes. 22 had never finished a detox program.
23 Q. Receiving counsel or seeking a 23 She was often non-compliant, and so
24 therapist can be a protective factor, correct? 24 I'm not sure how much help she would have
25 A. If you have a good counselor. 25 gotten.
Page 1251 Page 1253 [3
i Q. You did not identify lack of mental 1 Q. Did you rule out the fact that Susan
2 health treatment as a risk factor for 2 Bulger had stopped receiving counseling as the
3 Mrs. Bulger, correct? 3 cause of her suicide?
4 A. I did not. 4 A. First of all, I don't have the same
5 Q. And, in fact, you identified 5 model that you are assuming, which is a
6 treatment for depression as a protective factor 6 differential diagnosis model, where you rule out
7 in this case, correct? 7 the alternatives.
8 A. Actually, if you ever to get to my 8 My theory, as you know, is that 1
9 new theory, I defined it as both, which is to 9 rule them in, and I talk about them actually
10 say: People who get treatment usually have some {10 contributing to making her part of a vulnerable
11 remission of symptoms, not always. 11. minority of patients --
12 For example, 60 to 70 percent of 12 Q. Well, Dr. Maris --
13 people taking an anti-depressant never have an 13 THE WITNESS: I'm not finished.
14 anti-depressant effect. 14 MS. SEATON: Okay.
15 But -- so it helps them, but if there 15 A. And that by ruling them in, then the
16 are adverse events or adverse effects then, 16 Neurontin becomes an additional substantive
17 obviously, it can also hurt them. 17 proximate risk factor, not the only factor.
18 Q. Are you aware that Susan Bulger had 18 So I'm not ruling these things out.
19 been seeing a counselor and receiving some group |19 I never tried to rule them out.
20 therapy between 2000 and 2003? 20 I'm saying that there was a
21 A. Yes. 21 combination of effects and risk factors that
22 Q. And that was part of her -- one of 22 made her suicidal, and which Neurontin was one
23 the requirements that, in order to get her 23 of:them.
24 methadone, she had to attend the therapy 24 Q. You have testified in this
25 sessions; is that right? 25

 

 

litigation, in addition to publicly stating,

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